                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NORTHEAST DIVISION

UNIVERSAL LIFE CHURCH                          )
MONASTERY STOREHOUSE, a                        )
Washington non-profit corporation; GALE        )
                                               )
PLUMM and TIMEAKA FARRIS, a married            )       Case No. 2:19-cv-00049
couple; ERIN PATTERSON, an individual;         )
GABRIEL BISER, an individual; and              )
JAMES WELCH, an individual,                    )
                                               )
                            Plaintiffs,        )       Chief Judge Waverly D. Crenshaw
                                               )       Magistrate Judge Alistair Newbern
         v.                                    )
                                               )
WAYNE NABORS, in his official capacity )
as County Clerk of Putnam County,              )
Tennessee; LISA DUKE CROWELL, in her )
                                               )
official capacity as County Clerk of           )
Rutherford County, Tennessee;                  )
WILLIAM K. KNOWLES, in his official            )
capacity as County Clerk of Hamilton           )
County, Tennessee; ELAINE ANDERSON, )
in her official capacity as County Clerk of    )
                                               )
Williamson County, Tennessee;                  )
HERBERT H. SLATERY III, in his official )
capacity as Attorney General of the State of )
Tennessee; JENNINGS H. JONES, in his           )
official capacity as District Attorney General )
for Rutherford County; NEAL PINKSTON, )
in his official capacity as District Attorney  )
                                               )
General for Hamilton County; BRYANT C. )
DUNAWAY, in his official capacity as           )
District Attorney General for Putnam           )
County; KIM R. HELPER, in her official         )
capacity as District Attorney General for      )
Rutherford County; BILL LEE, in his official )
capacity as Governor of the State of           )
                                               )
Tennessee,                                     )
                                               )
                            Defendants.        )




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                 NOTICE OF WITHDRAWAL OF ROBERT E. MILLER

       PLEASE TAKE NOTICE that Robert Miller of Davis Wright Tremaine LLP hereby

withdraws as counsel on behalf of Plaintiffs Universal Life Church Monastery Storehouse, et al.

Plaintiffs will continue to be represented by Bruce E.H. Johnson and Ambika Kumar of Davis

Wright Tremaine LLP.

       RESPECTFULLY SUBMITTED this 3rd day of January, 2022.

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                             Attorneys for Plaintiffs Universal Life Church Monastery
                             Storehouse, Gale Plumm, Timeaka Farris, Erin Patterson, and
                             Gabriel Biser

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                               CERTIFICATE OF SERVICE

        I hereby certify that on January 3, 2022, a true and correct copy of the foregoing
document was electronically filed utilizing the CM/ECF system. Notice of this filing will be sent
by operation of the Court’s electronic filing system to all parties indicated below and on the
electronic filing receipt.

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DATED this 3rd day of January, 2022.




                                            Susan Bright




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